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                         UNITED STATES DISTRICT COURT

                    FOR THE MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENÉ                      Case No. 3:22-cv-00211
SOULÉ, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE
(“NAACP”) LOUISIANA STATE
CONFERENCE, and POWER COALITION
FOR EQUITY AND JUSTICE,

                    Plaintiffs,

      v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                    Defendant.

EDWARD GALMON, SR., CIARA HART,                 Civil Action: 3:22-cv-00214
NORRIS HENDERSON, and TRAMELLE
HOWARD,

                    Plaintiffs,

      v.

R. KYLE ARDOIN, in his official capacity as
Louisiana Secretary of State,

                     Defendant.




                    MOTION FOR PRO HAC VICE ADMISSION


    MAY IT PLEASE THE COURT:




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       In accordance with Local Rule 83 governing Visiting Attorneys of the United States

District Court of Louisiana, the undersigned, Angelique Freel, counsel for the Intervenor-

Defendant, the State of Louisiana, by and through Attorney General Jeff Landry, and a member of

the Bar of the State of Louisiana in good standing and of this court, respectfully requests this Court

to permit Brennan Bowen to appear and participate pro hac vice as additional counsel on behalf of

the Attorney General and State of Louisiana in both of the above captioned actions.

                                                  1.

       Mr. Bowen is a licensed attorney admitted to practice in the state of Arizona. Mr. Bowen

practice is located at 2575 E. Camelback Road, Suite 860, Phoenix, AZ 85016. Mr. Bowen is a

member in good standing with the Arizona State Bar.

                                                  2.

       Pursuant to Local Rule 83, the Affidavit of Brennan Bowen is attached hereto in support

of this motion as Exhibit “A”. The affidavit states that Brennan Bowen is a member in good

standing with the Arizona State Bar and was admitted on May 3, 2021. Brennan Bowen is admitted

to practice law in Arizona and the Ninth Circuit.

                                                  3.

       Also, Pursuant to Local Rule 83, a Certificate of Good Standing from the Supreme Court

of Arizona is attached to Mr. Bowen’s Affidavit verifying that Brennan Bowen is admitted to
practice in that Court and is in good standing therein.

       WHEREFORE, Angelique Freel, counsel of record for Defendant, The State of Louisiana,

in these consolidated cases and a member in good standing, prays that this court enter an Order

permitting Brennan Bowen to appear pro hac vice as counsel on behalf of The State of Louisiana,

in the above captioned matters.

Dated: July 21, 2023




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                                              Respectfully submitted,

                                             /s/ Angelique Duhon Freel
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                                                    *pro hac vice motion forthcoming




                                CERTIFICATE OF SERVICE

       I hereby certify that, on this 21st day of July 2023, the foregoing has been filed with the

Clerk via the CM/ECF system that has sent a Notice of Electronic filing to all counsel of record.

                                   /s/ Angelique Duhon Freel
                                     Angelique Duhon Freel




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